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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

v.                                                 Case No. 17-cr-232 (EGS)

MICHAEL T. FLYNN,

                              Defendant.



                     REQUEST FOR CLARIFICATION AND
             MOTION FOR EXTENSION OF TIME TO FILE REPLY BRIEF

       On May 13, 2020, the Court issued an order appointing me as amicus curiae “to present

arguments in opposition to the Government’s Motion to Dismiss, ECF No. 198 . . . .” ECF No.

205. The Court further directed me to “address whether the Court should issue an Order to Show

Cause why Mr. Flynn should not be held in criminal contempt for perjury pursuant to 18 U.S.C.

§ 401, Federal Rule of Criminal Procedure 42, the Court’s inherent authority, and any other

applicable statutes, rules, or controlling law.” Id. On May 19, 2020, the Court granted my request

to submit a brief on or before June 10, 2020 and a reply brief on or before June 24, 2020.

       My reply brief has been completed and is ready to be filed. However, earlier today the

D.C. Circuit granted Mr. Flynn’s petition for a writ of mandamus in part, directing the Court to

grant the Government’s Rule 48(a) motion to dismiss and vacate its order appointing me as

amicus curiae. Under the D.C. Circuit’s rules, an “order or judgment granting or denying the

relief sought will become effective automatically 21 days after issuance in the absence of an

order or other special direction of this court to the contrary.” D.C. Circuit Rule 41(a)(3). Because

the D.C. Circuit can depart from this rule and give its order immediate effect by saying so
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explicitly, cf. In re de Henriquez, No. 15-3054, 2015 WL 10692637, at *2 (D.C. Cir. Oct. 16,

2015) (“FURTHER ORDERED that this order become effective immediately.”), but has not

done so in this case, I believe this Court’s orders appointing me and directing me to file my reply

brief today remain in effect. The writ is not yet in effect, and it is conceivable that further

proceedings in the circuit court may prevent it from taking effect.

       On the other hand, I do not wish to show disrespect for the court of appeals by filing my

reply brief in the face of a decision directing this Court to vacate the order appointing me as

moot. Accordingly, I seek guidance from the Court in that regard. Specifically, in light of the

decision issued this morning by the court of appeals, I request clarification as to whether my

reply brief should be filed. In addition, I respectfully request an extension of time to file the reply

brief until this Court has provided such clarification.

       In the interest of filing this request as promptly as possible, I have not conferred with

counsel for the Government or Mr. Flynn regarding this request.




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Dated: New York, NY
       June 24, 2020




                                                    _______/s/John Gleeson_____________
                                                    John Gleeson1
                                                    DEBEVOISE & PLIMPTON LLP
                                                    919 Third Avenue
                                                    New York, New York 10022
                                                    (212) 909-6000
                                                    jgleeson@debevoise.com

                                                    Court-appointed Amicus Curiae




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    On May 18, 2020, the Court ordered that I be admitted pro hac vice to appear in this matter,
    be conferred full privileges to file and receive papers through the Court’s CM/ECF system
    in this proceeding, and be excused from the local counsel requirement of Local Criminal
    Rule 44.1(c)(1). See Minute Order of May 18, 2020.

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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

v.                                                  Case No. 17-cr-232 (EGS)

MICHAEL T. FLYNN,

                               Defendant.



             ORDER GRANTING REQUEST FOR CLARIFICATION AND
             MOTION FOR EXTENSION OF TIME TO FILE REPLY BRIEF


       Amicus curiae John Gleeson moved for an order for extension of time to file reply brief.

       It is ORDERED that the motion is GRANTED, and that the time to file is extended until

the Court clarifies whether the reply brief should be filed.




Date: _________________________                       _________________________
                                                      The Honorable Emmet G. Sullivan, Jr.
                                                      United States District Judge
